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                                   Candace Amborn - Trustee
                                   Gary Blacklidge - Trustee Counsel
                                   Russell Garrett - Trustee Counsel
                                   Steve Arnot - UST




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For reasons explained on the record, the court finds debtor failed to comply with the court

order.

Mr. Szanto to sign the documents and provide original documents to the trustee by end of

business, January 20, 2021. If the trustee does not receive the documents as stated, the

court will impose a sanction of $500.00 per day until the documents are delivered to Trustee.

Hearing Continued to 2/25 @ 9:30 by video. The court will consider further sanctions at the

continued hearing if the documents have not been signed.




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